Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 1 of 12 Page ID #:4




                              EXHIBIT 1
                                 1
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 2 of 12 Page ID #:5




                              EXHIBIT 1
                                 2
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 3 of 12 Page ID #:6




                              EXHIBIT 1
                                 3
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 4 of 12 Page ID #:7




                              EXHIBIT 1
                                 4
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 5 of 12 Page ID #:8




                              EXHIBIT 1
                                 5
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 6 of 12 Page ID #:9




                              EXHIBIT 1
                                 6
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 7 of 12 Page ID #:10




                               EXHIBIT 1
                                  7
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 8 of 12 Page ID #:11




                               EXHIBIT 1
                                  8
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 9 of 12 Page ID #:12




                               EXHIBIT 1
                                  9
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 10 of 12 Page ID #:13




                               EXHIBIT 1
                                  10
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 11 of 12 Page ID #:14




                               EXHIBIT 1
                                  11
Case 5:19-cv-01841 Document 1-1 Filed 09/25/19 Page 12 of 12 Page ID #:15




                               EXHIBIT 1
                                  12
